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1                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
2                                  SAN FRANCISCO DIVISION
3
     FEDERAL TRADE COMMISSION,
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                 Plaintiff,
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           v.
6                                              Case No. 3:23-cv-01710-AMO
     INTERCONTINENTAL
7    EXCHANGE, INC.                            JOINT STIPULATION RE AMENDED
                                               BRIEFING SCHEDULE AND
8    and                                       [PROPOSED] ORDER
9    BLACK KNIGHT, INC.,
10               Defendants.
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     JOINT STIPULATION RE AMENDED BRIEFING SCHEDULE & [PROPOSED] ORDER
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1            Pursuant to Civil Local Rules 6-2(a) and 7-12, Plaintiff Federal Trade Commission and

2    Defendants Intercontinental Exchange, Inc. and Black Knight, Inc. (collectively, the “Parties”)

3    hereby stipulate as follows:

4            WHEREAS, on July 17, 2023, the Court granted the Parties’ Joint Motion to Continue

5    the Evidentiary Hearing Regarding Plaintiff’s Motion for a Preliminary Injunction (Dkt. 269),

6    and rescheduled the pre-hearing conference, and hearings for Plaintiff’s Motion to Strike and

7    Motion in Limine, to August 9, 2023, and the evidentiary hearing to August 14-16, 2023 (Dkt.

8    270);

9            WHEREAS, later on July 17, 2023, the Court issued an order directing the Parties to

10   meet and confer and submit a proposed schedule for the Parties to submit revised pre-hearing

11   submissions by July 19, 2023, at 12 p.m. Pacific Time (Dkt. 271);

12           WHEREAS, on July 19, 2023, the Parties submitted a proposed revised scheduling order

13   for pre-hearing submissions (Dkt. 276);

14           WHEREAS the Parties’ proposed revised scheduling order called for submission of

15   simultaneous opening briefs on August 3, 2023, and submission of simultaneous response briefs

16   on August 7, 2023 (Dkt. 276);

17           WHEREAS, on July 20, 2023, the Court entered a revised scheduling order as amended

18   governing pre-hearing submissions (Dkt. 278) (the “Revised Scheduling Order”);

19           WHEREAS, the Revised Scheduling Order granted the parties’ proposed deadlines for

20   simultaneous submissions on August 3, 2023 and August 7, 2023, but amended the proposed

21   order submitted by the Parties to, inter alia, grant the Parties additional pages for briefing to

22   enable the Court “to review consolidated materials which fully include arguments as the facts

23   now stand” (Dkt. 278);

24           WHEREAS, given developments in the case, the Parties request additional time to submit

25   their simultaneous opening briefs that are currently due on August 3, 2023;

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1           WHEREAS, aside from the Joint Motion to Continue the Evidentiary Hearing Regarding

2    Plaintiff’s Motion for a Preliminary Injunction (Dkt. 269), and the Revised Scheduling Order

3    (Dkt. 278), there have been no previous modifications to deadlines in this case; and

4           WHEREAS, this stipulated extension will not affect any other existing case deadlines.

5           NOW THEREFORE, pursuant to Civil Local Rules 6-2(a) and 7-12, the Parties through

6    their respective counsel hereby stipulate as follows:

7           1. The Parties’ deadline to file simultaneous 25-page briefs regarding the motion for

8               preliminary injunction including discussion of the impact of the proposed Optimal

9               Blue Transaction shall be extended to August 7, 2023 by 3:00PM PST; and

10          2. The Parties will forgo responsive briefing of the August 7, 2023 submissions and

11              address any arguments from those submissions during the evidentiary hearing and in

12              the Parties’ post-hearing proposed Findings of Fact and Conclusions of Law.

13          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

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15   Dated: August 2, 2023                                   Respectfully submitted,

16

17   SUSMAN GODFREY L.L.P.                            FEDERAL TRADE COMMISSION

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6

7               FILER’S ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1
8           I, Abby Dennis, am the ECF User whose ID and password are being used to file the
9    foregoing. In compliance with Civil Local Rule 5-1(h)(3), I attest that the other signatories
10   concurred in this filing, and I shall maintain records to support this concurrence for subsequent
11   production for the Court if so ordered or for inspection upon request by a party.
12

13   Dated: August 2, 2023                                /s/ Abby L. Dennis
14                                                        Abby L. Dennis
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17                                         PROPOSED ORDER
18          PURSUANT TO STIPULATION, IT IS SO ORDERED.
19

20   Date: ______________________
              August 3, 2023                              _________________________
                                                          Hon. Araceli Martínez-Olguín
21                                                        UNITED STATES DISTRICT JUDGE
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